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 7

 8
                        IN THE UNITED STATES DISTRICT COURT
 9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11                                            ) Case No.: 2:11-CR-00490-JAM
     UNITED STATES OF AMERICA,
                                              )
12                                            )
                        Plaintiff,            ) ORDER GRANTING REQUEST TO
13   vs.                                      ) MODIFY COURT’S PREVIOUS ORDERS
                                              ) REGARDING TRAVELING IN
14                                            ) CALIFORNIA
     SVETLANA MARKEVICH and
     DANIIL MARKEVICH, et al.,                )
15
                                              )
16                    Defendants.             )
                                              )
17

18          GOOD CAUSE APPEARING, it is hereby ordered that both Defendants,

19   SVETLANA MARKEVICH and DANILL MARKEVICH, be allowed to travel throughout
20
     California.
21
     DATE: 11/20/2013                              /s/ John A. Mendez____________
22                                                 Hon. John A. Mendez
23
                                                   United States District Court Judge

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                                           ORDER
